     Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 1 of 162 Page ID #:560

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8
                             UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10
11
12       SECURITIES AND EXCHANGE                    Case No. 2:21-CV-02927-CAS-GJSx
         COMMISSION,
13
                     Plaintiff,                     DECLARATION OF BRETT
14                                                  CRAVATT
               vs.
15
         ZACHARY J. HORWITZ; AND
16       1INMM CAPITAL, LLC,                        (FILED UNDER SEAL)
17
                     Defendants.
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Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 2 of 162 Page ID #:561



   1                         BRETT CRAVATT DECLARATION
   2
             I, Brett Cravatt, declare pursuant to 28 U.S.C. 1746 as follows:
   3
   4         1.     I have personal knowledge of the matters set forth herein, except as

   5   otherwise noted, and, if called as a witness, I could and would competently testify
   6
       under oath to the facts stated herein.
   7
   8         2.     I currently reside in Manhattan Beach, California. In approximately
   9   2017, while I was still residing in Manhattan Beach, I was looking for investment
  10
       opportunities.
  11
  12         3.     In approximately July of 2017, I was introduced to Zach Horwitz
  13   through Jason Page. I knew Mr. Page for a few years having first met him at a
  14
       charity event in Napa Valley in May of 2016. My wife and I donated $25,000 to
  15
  16   the “Do it for the Love” charity of which Laura Page, Mr. Page’s wife, sat on the
  17   board. We met each other at the event and became friends thereafter. As we got to
  18
       know each other better over the course of the next year, Mr. Page described a
  19
  20   business opportunity to me with Mr. Horwitz and invited me to participate on a call
  21   with Mr. Horwitz to learn more.
  22
             4.     Before I made any investments, I had an initial call, on or about June
  23
  24   2017, wherein Mr. Horwitz presented me with the investment opportunity. Mr.
  25   Horwitz identified himself and explained that he was the owner/principal of
  26
       1inMM, which had licensed movies for distribution in Latin America to HBO and
  27
  28   Netflix and other companies like them. He said he had long-standing relationships
                                                -1-                   CRAVATT DECLARATION
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 3 of 162 Page ID #:562



   1   with both HBO and Netflix and had a successful track record using investor funds
   2
       to purchase Latin America distribution rights in specific movie titles and then
   3
   4   licensing those distribution rights to HBO and Netflix at a significant markup. Mr.

   5   Horwitz said all of his investors had received the investment returns he initially said
   6
       they would receive. Mr. Horwitz described these investments as having limited-to-
   7
   8   no risk because out of the hundreds and hundreds of movies he and his investors
   9   had purchased rights to, HBO elected to purchase the rights to all but four of the
  10
       movies. For the four movies HBO declined to purchase rights to, Mr. Horwitz told
  11
  12   me he paid back his investors their principal. Mr. Horwitz told me that HBO had a
  13   need for titles in the Latin America marketplace and had consistently paid him and
  14
       his investors to acquire titles for the Latin America marketplace. During the call, I
  15
  16   noted that Mr. Horwitz was calling from his cell phone number (773) 724-0290.
  17         5.     I had additional telephone conversations with Mr. Horwitz while I was
  18
       located in Manhattan Beach, and subsequent to investing met with Mr. Horwitz and
  19
  20   Mr. Page in person twice. The first time was at Catch restaurant in Los Angeles
  21   and included our respective wives, and I recognized Mr. Horwitz’s voice from our
  22
       earlier telephone calls. We met again near the end of 2019 at Boa steakhouse in
  23
  24   Los Angeles with Mr. Page, where Mr. Horwitz assured me that HBO was simply
  25   late on a few payments and would be paying everything that is due within a few
  26
       weeks.
  27
  28
                                                -2-                    CRAVATT DECLARATION
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 4 of 162 Page ID #:563



   1         6.     I decided to invest with Mr. Horwitz for two reasons. First, I was
   2
       familiar with HBO as a company with more than enough financial resources to pay
   3
   4   for titles that it acquires from 1inMM. I believed that if HBO was involved, my

   5   investment was safe. Second, Mr. Horwitz represented the investment opportunity
   6
       as essentially risk-free, given HBO’s appetite for product in the Latin America
   7
   8   marketplace, the prices that HBO is willing to pay for Latin America distribution
   9   rights, and the long-standing successful track record Mr. Horwitz had with HBO.
  10
             7.     My initial investment, through my entity Vausse Films, in partnership
  11
  12   with Mr. Page, was on August 3, 2017 and was paid on a timely basis, increasing
  13   my confidence in the arrangement with Mr. Horwitz.
  14
             8.     Later, I continued to co-invest, through my entity, Vausse Films, with
  15
  16   Mr. Page. Mr. Page, through his entity, Pure Health, and I, through my entity,
  17   Vausse Films, entered into a series of partnership agreements, beginning on May,
  18
       29, 2019, to provide the financing proposed by Mr. Horwitz for 12 titles. A true
  19
  20   and correct copy of an exemplar partnership agreement between Vausse Films and
  21   Pure Health is attached as Exhibit 1.
  22
             9.     In total, I invested with Mr. Horwitz for the acquisition of 34 titles.
  23
  24         10.    For each of the titles I invested in, Mr. Horwitz began the process by
  25   providing me with a list of potential movies available for investment. The lists
  26
       provided by Mr. Horwitz included the movie title and description, the price for the
  27
  28   distribution rights, the duration of the investment, the mark-up to be paid by HBO,
                                                -3-                     CRAVATT DECLARATION
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 5 of 162 Page ID #:564



   1   and the funding date. A true and correct copy of an example of such a list is
   2
       attached as Exhibit 19.
   3
   4         11.    For each investment, Mr. Horwitz then issued a promissory note in

   5   exchange for the investment through his entity, 1inMM. A true and correct copy of
   6
       an exemplar note, issued to Pure Health, on the title “Run with the Hunted,” is
   7
   8   attached as Exhibit 3.
   9         12.    For each deal, approximately one or two weeks after Mr. Horwitz
  10
       represented that the distribution rights had been purchased, Mr. Horwitz provided
  11
  12   me with an executed single picture distribution agreement between HBO and
  13   1inMM, which purportedly related to the specific picture I had invested in. A true
  14
       and correct copy of an exemplar single picture distribution agreement for the title
  15
  16   “Run with the Hunted” between HBO Holdings, Inc. and 1inMM Capital LLC is
  17   attached as Exhibit 2.
  18
             13.    On November 29, 2019, Mr. Horwitz began failing to make payments
  19
  20   on a timely basis.
  21         14.    Mr. Horwitz represented that he was unable to pay on time due to
  22
       HBO’s own breach of the various agreements that it had with 1inMM, had told me
  23
  24   he intended to sue HBO, but then represented to me that 1inMM and HBO were
  25   able to conclude a consolidated distribution agreement, combining the outstanding
  26
       single picture distribution agreements, pursuant to which HBO would immediately
  27
  28   remedy its past due payments owing to 1inMM. A true and correct copy of the
                                               -4-                    CRAVATT DECLARATION
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 6 of 162 Page ID #:565



   1   alleged executed non-binding HBO term sheet, on HBO letterhead, is attached as
   2
       Exhibit 4. I obtained a copy of this document from Mr. Horwitz. A true and
   3
   4   correct copy of the alleged draft long form Distribution Agreement with HBO is

   5   attached as Exhibit 5, a true and correct copy of a screenshot of a text message
   6
       conversation from Mr. Horwitz containing the alleged executed signature page of
   7
   8   the final agreement is attached as Exhibit 6, and a true and correct copy of an
   9   extracted version from the text message conversation of the alleged executed
  10
       signature page of the final agreement is attached as Exhibit 7. A true and correct
  11
  12   copy of the titles Mr. Horwitz represented had been licensed by 1inMM to HBO is
  13   attached as Exhibit 8. A true and correct copy of a screenshot of text messages with
  14
       Mr. Horwitz, wherein he quotes an alleged email from HBO, in which HBO asks
  15
  16   for a grace period of one week to remit payment for the payment due on October
  17   15, 2020, is attached as Exhibits 9-11. A true and correct copy of a screenshot of
  18
       text messages with Mr. Horwitz, wherein Mr. Horwitz quotes an email he
  19
  20   represents to have come from HBO’s Business Affairs and CEO, in which HBO
  21   again references the remittance of payment and further proposes the parties discuss
  22
       a new “business opportunity” is attached as Exhibits 12-13.
  23
  24         15.    In approximately October or November 2020, Mr. Horwitz represented
  25   by text message that a collections account was established at Freeway
  26
       Entertainment, a collections account management company, wherein HBO
  27
  28   payments made under the terms of the consolidated distribution agreement would
                                               -5-                     CRAVATT DECLARATION
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 7 of 162 Page ID #:566



   1   be paid and from which they would be disbursed. He further represented that
   2
       money had been deposited in that account on multiple occasions. A true and
   3
   4   correct copy of the draft long form Collection Account Management Agreement is

   5   attached as Exhibit 14. A true and correct copy of a screenshot of text messages
   6
       with Mr. Horwitz, wherein he claims the balance of the Freeway collection account
   7
   8   is $29 million dollars is attached as Exhibit 15. A true and correct copy of a
   9   screenshot sent by Mr. Horwitz allegedly representing the Freeway portal,
  10
       corroborating Mr. Horwitz’s claim of money on deposit, is attached as Exhibit 16,
  11
  12   and a true and correct copy of the embedded screenshot of the portal is attached as
  13   Exhibit 17. A true and correct copy of a screenshot of text messages with Mr.
  14
       Horwitz, wherein he represents the balance in the collections account had increased
  15
  16   to $68 million dollars, is attached as Exhibit 18.
  17         16.    While Mr. Horwitz assured me payment would be forthcoming once
  18
       the consolidated distribution agreement with HBO was consummated, he is still
  19
  20   past due on 12 titles.
  21         17.    Based on representations by Mr. Horwitz, I believe I am currently
  22
       owed in excess of $12,000,000 dollars in combined principal and interest of which
  23
  24   $8,000,955 is principal.
  25
  26
  27
  28
                                                -6-                    CRAVATT DECLARATION
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 8 of 162 Page ID #:567




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Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 9 of 162 Page ID #:568




                   EXHIBIT 1
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        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 10 of 162 Page ID #:569




                                   PARTNERSHIP AGREEMENT
                       OF ___WATCH LIST, RUN WITH THE HUNTED, ARCTIC___

                This Partnership agreement (“Agreement”) is entered into and effective as of MAY 29 2019,
                by Pure Health and Vausse Films, each of whom shall be referred to individually as a
                “Partner” and together as the “Partners.
                       The Partners desire to form a General Partnership under the laws of the State of
                California for the purposes and on the terms and conditions stated in this Agreement.

                1. Formation. By this Agreement, the Partners form a General Partnership (“Partnership”)
                   under the laws of the State of California, on the following terms and conditions.
                2. Name. The name of the Partnership is __MOVIE FUNDING_.
                3. Chief Executive Office. The Partnership’s chief executive office and place of business
                   shall be located at _2070A WEST LINCOLN AVE_, Napa, in Napa County, California.
                   From time to time, the Partners may change the chief executive office and/or establish
                   other offices in accordance with the terms and conditions of this Agreement.
                4. Term. The Partnership shall begin on the date of this Agreement and shall continue for six
                   (6) months from that date, unless extended by the Partners’ unanimous consent, or
                   alternatively, dissolved and terminated by mutual agreement of Partners holding at least
                   51 percent of the Partnership interests, or finally as otherwise provided for in this
                   Agreement.
                5. Purposes. The purposes of the Partnership will be to finance motion pictures, television
                   programming, and audiovisual works for broadcast in any medium, and to do all things
                   reasonably incidental to or in furtherance of this purpose.
                6. Partnership’s Powers. The Partnership is empowered to do any and all things necessary,
                   appropriate, or convenient for the furtherance and accomplishment of its purposes and for
                   the protection and benefit of the Partnership and its properties.
                7. Filings. The Partners, or any one of them, on the Partnership’s behalf, may sign and cause
                   to be filed and published an appropriate fictitious business name statement under the
                   California Fictitious Business Name Act within 40 days after the Partnership begins doing
                   business, within 40 days after any subsequent change in its membership, and before the
                   expiration of any previously filed statement. Each other Partner appoints Jason Page as
                   their agent and attorney-in-fact to execute on his or her behalf any fictitious business
                   name statement relating to this Partnership.
                8. Initial Contributions. Each Partner shall initially contribute to the Partnership’s capital
                   the amount listed in Attachment A of this Agreement. Each Partner’s contribution shall be
                   paid in full within 30 days after the date of this Agreement.
                9. Failure to Contribute. If any Partner fails to pay or convey his or her initial contribution
                   to the Partnership’s capital at the time and in the form and amount required by this


                                                             Page 1! of 15
                                                                        !                           Exhibit 1
                                                                                                      Page 8
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 11 of 162 Page ID #:570




                    Agreement, the Partnership shall immediately dissolve and each Partner who has paid or
                    conveyed all or any portion of his or her initial contribution to the Partnership’s capital
                    shall be entitled to a return of the funds and properties that he or she contributed. If the
                    Partners shall have entered into a written agreement requiring an alternative procedure for
                    continuing the Partnership, however, that alternative procedure shall be followed.
                10. No Withdrawal of Capital. No Partner may withdraw capital from the Partnership
                    without the consent of all the Partners.
                11. No Interest on Contributions. No Partner shall be entitled to receive any interest on his
                    or her capital contribution, except that, if a Partner is entitled to repayment of his or her
                    contribution, the Partner shall be entitled to interest on the contribution not repaid at the
                    rate of 10 percent per annum from the date when repayment should have been made.
                12. Loans to Partnership.
                        a. No Partner shall lend or advance money to or for the Partnership’s benefit without
                            the approval of all of the Partners.
                        b. If any Partner, with the requisite consent of the other Partners, lends any money to
                            the Partnership in addition to his or her contribution to its capital, the loan shall be
                            a debt of the Partnership to that Partner and shall bear interest at the rate of 10
                            percent per annum.
                        c. This liability shall not be regarded as an increase in the lending Partner’s capital
                            and shall not entitle the lending Partner to any increased share of the Partnership’s
                            profits.
                        d. Any loan by a Partner to the Partnership shall be evidenced by a promissory note
                            delivered to the lending Partner and executed in the name of the Partnership by the
                            managing Partner.
                13. Division of Profits and Losses. In the event that the Partnership’s profits do not meet the
                    required return to each Partners as listed in Attachment A of this Partnership Agreement,
                    the Partnership’s losses shall be allocated among the Partners in the same proportions as
                    their percentage of return. If the Partnership’s return falls below the principal capital
                    contributions, the Finder Partners will not receive a return; and the Partnership’s losses
                    shall be allocated among the Producer Partners and the Silent Partners.
                14. Distribution of Profits. The Partnership shall distribute to the Partners cash in proportion
                    to their respective percentage of return as provided in Attachment A of this Agreement,
                    unless the Partnership profits fall below the obligation set forth in this Agreement, any
                    cash shall be disturbed in accordance with the above Section 13 of this Agreement.
                15. Fiscal Year. The fiscal year of the Partnership shall be the calendar year.
                16. Accounting Method. The Partnership books shall be kept on the cash basis.
                17. Maintenance of Capital Accounts. An individual capital account shall be maintained for
                    each Partner and the Partner’s initial capital contribution in cash or property shall be
                    credited to that account. Capital accounts shall be maintained in accordance with Treas



                                                             Page 2! of 15
                                                                        !                              Exhibit 1
                                                                                                         Page 9
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 12 of 162 Page ID #:571




                    Reg §1.704-1(b)(2)(iv). No additional share of profits or losses shall inure to any Partner
                    because of changes or fluctuations in the Partner’s capital account.
                18. Adjustment of Capital Accounts.
                        The capital account for each Partner shall be credited with or increased by the
                        following:
                        a. Any additional capital contributions made by the Partner from time to time as
                            authorized by this Agreement;
                        b. The Partner’s share under this Agreement of the Partnership’s profits; and
                        c. On the Partnership’s dissolution and in its winding up, the credits authorized by
                            the provisions of this Agreement that relate to adjustments of capital accounts in
                            connection with liquidation.
                        The capital account for each Partner shall be debited with or reduced by the following:
                        a. Distributions to the Partner of cash or property, which property shall be valued for
                            this purpose at its fair market value;
                        b. The Partner’s share under this Agreement of the Partnership’s losses and of any
                            items then required under applicable tax laws, rules, and regulations to be debited
                            to capital accounts of Partners, to the extent and in the manner so required; and
                        c. On the Partnership’s dissolution and in its winding up, the debits authorized by the
                            provisions of this Agreement that relate to adjustments of capital accounts in
                            connection with liquidation.
                        In connection with the actual liquidation of the Partnership’s properties on its
                        dissolution and winding up, the capital account for each Partner shall be adjusted to
                        reflect the following:
                        a. The results of operations for the fiscal period then ended;
                        b. The results of transactions in connection with the liquidation;
                        c. Unrealized gain or loss on Partnership property that is to be or has been
                            transferred to creditors on account of their claims or distributed to Partners on
                            account of their interests in the Partnership. The amount of such unrealized gain or
                            loss shall be computed by comparing the fair market value of any such property to
                            its adjusted basis for federal income tax purposes. The unrealized gain or loss shall
                            be allocated to the Partners’ capital accounts in the same manner as the gain or
                            loss from the actual sale of such property would have been allocated; and
                        d. The distribution of cash or property to Partners made on the liquidation.
                19. Determination of Profit and Loss. The Partnership’s net profit or net loss for each fiscal
                    year shall be determined as soon as practicable after the close of that fiscal year in
                    accordance with the accounting principles employed in the preparation of the federal
                    income tax return filed by the Partnership for that year, but without any special provisions
                    for tax-exempt or partially tax-exempt income. If the Partnership assets include assets
                    subject to Internal Revenue Code §704(c), the adjustments required under Internal
                    Revenue Code §704(c) in the determination of any item of income, gain, loss, deduction,
                    or credit shall not be taken into account in determining the same for book purposes.



                                                             Page 3! of 15
                                                                        !                            Exhibit 1
                                                                                                      Page 10
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 13 of 162 Page ID #:572




                20. Profit and Loss Defined. “Profit” and “loss” for all purposes of this Agreement shall be
                    determined in accordance with the accounting method followed by the Partnership for
                    Federal income tax purposes and otherwise in accordance with generally accepted
                    accounting principles and procedures applied in a consistent manner. The calculation of
                    profit and loss shall take into account Partnership income exempt from Federal income
                    tax and Partnership expenses and costs not deductible or properly chargeable to capital for
                    federal income tax purposes. Every item of income, gain, loss, deduction, credit, or tax
                    preference entering into the computation of profit or loss shall be considered as allocated
                    to each Partner in the same proportion as profit is allocated to that Partner for any year in
                    which the Partnership operates at a profit, and in the same proportion as loss is allocated
                    to that Partner for any year in which the Partnership operates at a loss. Any increase or
                    reduction in the amount of any item of income, gain, loss, or deduction attributable to an
                    adjustment to the basis of Partnership property made under a valid election under Internal
                    Revenue Code §754 and under the corresponding provisions of applicable state and local
                    income tax laws shall be charged or credited, as the case may be, and any increase or
                    reduction in the amount of any item of credit or tax preference attributable to any such
                    adjustment shall be allocated to the capital accounts of those Partners entitled to them
                    under such code or laws.
                21. Partnership Books. The Partnership shall keep proper and complete books of account of
                    its business at its chief executive office. The Partnership shall provide its Partners and
                    their agents and attorneys access to the books and records, and provide to former Partners
                    and their agents and attorneys access to books and records pertaining to the period during
                    which they were Partners. This right of access includes the opportunity to inspect and
                    copy books and records during ordinary business hours. The Partnership may impose
                    reasonable charges covering the cost of labor and material for copies of documents
                    furnished. The accounting records shall be maintained in accordance with generally
                    accepted bookkeeping practices for this type of business.
                22. Control of Business. Each Partner shall participate in the control, management, and
                    direction of the Partnership’s business as listed below. In exercising this control,
                    management, and direction, each Partner shall have the same vote as each other Partner.
                        a. It is understood by the Partners that:
                                 i. “Producer” partners will manage the day-today tasks of the Partnership,
                                 ii. “Finder” partners will search for investment opportunities for the
                                     Partnership per the terms of the Purpose stated above.
                                 iii. “Silent” partners will solely contribute capital to the Partnership without
                                      handling any of its management.
                        b. The Partners shall participate in the business of the Partnership as listed in
                           Attachment A of this Agreement.
                23. Acts Requiring Consent of the other Partners. The following acts may be done only
                    with the consent of each Producer and Silent Partner(s):


                                                             Page 4! of 15
                                                                        !                              Exhibit 1
                                                                                                        Page 11
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 14 of 162 Page ID #:573




                        a. Borrowing money in the Partnership’s name, other than in the ordinary course of
                           the Partnership’s business or to finance any part of the purchase price of the
                           Partnership’s properties;
                        b. Transferring, hypothecating, compromising, or releasing any Partnership claim
                           except on payment in full;
                        c. Selling, leasing, or hypothecating any Partnership property or entering into any
                           contract for any such purpose, other than in the ordinary course of the
                           Partnership’s business and other than any hypothecation of Partnership property to
                           secure a debt resulting from any transaction permitted under (1);
                        d. Knowingly suffering or causing anything to be done whereby Partnership property
                           may be seized or attached or taken in execution, or its ownership or possession
                           otherwise endangered;
                        e. Requests to make additional capital contributions; and
                        f. Amending this Agreement.
                24. Handling Funds. All Partnership funds shall be deposited with the Producer Partner for
                    use in furtherance of the Partnership’s purposes.
                25. Partners Not Entitled to Remuneration. Except as provided elsewhere in this
                    Agreement, no Partner shall be entitled to remuneration for acting in the Partnership
                    business.
                26. Duty of Loyalty. Each Partner owes a duty of loyalty to the Partnership and the other
                    Partners, which includes the following:
                        a. To account to the Partnership and hold as trustee for it any property, profit, or
                           benefit derived by the Partner in the conduct and winding up of the Partnership
                           business or derived from a use by the Partner of Partnership property or
                           information, including the appropriation of a Partnership opportunity.
                        b. To refrain from competing with the Partnership in the conduct or winding up of
                           the Partnership business as or on behalf of a party having an interest adverse to the
                           Partnership.
                        c. Each Partner may maintain competitive interests in other partnerships as long as
                           such other interests do not seek the same business opportunities as this
                           Partnership, or to use any confidential information obtained from the other
                           Partners or the Partnership itself to the detriment of the Partnership or the other
                           Partners.
                        d. Any Partner may engage in one or more businesses. Neither the Partnership nor
                           any other Partner shall have any right to any income or profit derived by a Partner
                           from any business activity permitted under this section.




                                                             Page 5! of 15
                                                                        !                           Exhibit 1
                                                                                                     Page 12
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 15 of 162 Page ID #:574




                        e. The business of the Partnership may include the use of or be based upon
                           Intellectual Property developed by or licensed to the Partnership. Partners shall not
                           have the right to use the property of the Partnership in any other business.
                27. Waiver of Breach of Fiduciary Duty. Any act of a Partner that otherwise would violate
                    the fiduciary duties owed by a Partner to the Partnership may be approved by the written
                    consent of the remaining Partners who do not participate in such act on full disclosure of
                    all material facts by the Partner whose conduct otherwise is deemed to breach such
                    fiduciary duties
                28. Duty of Care. During the conduct of any Partnership business or when the Partnership is
                    being wound up, no Partner shall be liable to the Partnership or any other Partner for
                    losses sustained or liabilities incurred, unless it is determined that such conduct is grossly
                    negligent or reckless, or intentional misconduct, or a knowing violation of law.
                29. Duty of Good Faith and Fair Dealing. Each Partner shall discharge its duties to the
                    Partnership and the other Partners and exercise any rights consistently with the obligation
                    of good faith and fair dealing.
                30. Furtherance of Partner’s Interests. A Partner does not violate a duty or obligation under
                    this Agreement or controlling law merely because the Partner’s conduct furthers the
                    Partner’s own interest.
                31. Admission of New Partners. No new partner may join the Partnership without the
                    written unanimous vote of the existing Partners, and only after such new Partner has
                    agreed to be bound and executed this Agreement, in its then current form. Admission of a
                    new Partner shall not cause dissolution of the Partnership. Any new Partner so admitted to
                    the Partnership shall contribute capital to the Partnership as agreed by all Partners based
                    on a valuation determination made on an annual basis and the consideration of the
                    business being brought to the Partnership by the new Partner.
                32. Dissociation. A Partner is dissociated from the Partnership on the occurrence of any of the
                    following events:
                        a. Delivery of written notice by the Partner setting forth the Partner’s intention to
                           withdraw as a Partner on the date set forth in the notice but in no event earlier than
                           30 days after receipt by the Partnership.
                        b. As otherwise provided in this Agreement.
                        c. The Partner’s expulsion as provided in this Agreement.
                        d. The Partner (a) becomes a debtor in bankruptcy; (b) executes an assignment for
                           the benefit of creditors; (c) seeks, consents to, or acquiesces in the appointment of
                           a trustee, receiver, or liquidation of that Partner or of all or substantially all of that
                           Partner’s property; or (d) fails to have vacated or stayed the appointment of a
                           trustee, receiver, or liquidator of the Partner or of all or substantially all of the
                           Partner’s property obtained without the Partner’s consent or acquiescence, within
                           90 days after the appointment or within 90 days after the expiration of a stay.


                                                             Page 6! of 15
                                                                        !                                Exhibit 1
                                                                                                          Page 13
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 16 of 162 Page ID #:575




                        e. For any individual Partner, on: (a) the Partner’s death; (b) the appointment of a
                           guardian or general conservator for the Partner; or (c) a judicial determination that
                           the Partner has otherwise become incapable of performing the Partner’s duties
                           under the Partnership agreement.
                        f. Dissociation shall not cause dissolution of the Partnership.
                33. Expulsion under RUPA. A Partner may be expelled from the Partnership by the vote of
                    the other Partners holding at least 51 percent in capital interest of the Partnership
                    (excluding the interest of the Partner to be expelled) if, by that vote, it is determined in the
                    sole discretion of those Partners that:
                        a. It is unlawful to carry on the Partnership business with that Partner;
                        b. There has been a transfer of all or substantially all of that Partner’s transferable
                           interest in the Partnership, except a transfer for security purposes or issuance of a
                           court’s charging order, neither of which have been foreclosed on;
                        c. Within 90 days after the Partnership notifies a corporate Partner that it will be
                           expelled because it has filed a certificate of dissolution or the equivalent, its
                           charter has been revoked, or its right to conduct business has been suspended by
                           the jurisdiction of its incorporation, there is no revocation of such certificate of
                           dissolution or no reinstatement of its charter or its right to conduct business; or
                        d. A partnership, limited partnership, or limited liability company Partner has been
                           dissolved and its business is being wound up.
                        e. Expulsion shall become effective when written notice of expulsion is served on the
                           expelled Partner. When the expulsion becomes effective, the expelled Partner’s
                           rights, powers, and authority as a Partner of the Partnership, including its rights to
                           participate in the Partnership’s profits and to draw any salary, shall terminate.
                34. Expulsion by Judicial Determination. On application by the Partnership or another
                    Partner, a Partner may be expelled from the Partnership by judicial determination because
                    of any of the following:
                        a. The Partner engaged in wrongful conduct that adversely and materially affected
                           the Partnership business.
                        b. The Partner willfully or persistently committed a material breach of the
                           Partnership agreement or of a duty owed to the Partnership or the other Partners.
                        c. The Partner engaged in conduct relating to the Partnership business that makes it
                           not reasonably practicable to carry on the business in Partnership with the Partner.
                35. Purchase of Dissociated Partner’s Interest. Except as otherwise provided in this
                    Agreement, if a Partner is dissociated from the Partnership and the remaining Partners do
                    not elect to dissolve the Partnership, the Partnership shall cause the dissociated Partner’s
                    interest in the Partnership to be purchased on the following terms:



                                                             Page 7! of 15
                                                                        !                              Exhibit 1
                                                                                                        Page 14
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 17 of 162 Page ID #:576




                        a. The buyout price of a dissociated Partner’s interest is the amount that would have
                           been paid on settlement of a Partner’s account under California Corporations Code
                           §16807(b) had the business of the Partnership been wound up if, on the date of
                           dissociation, the assets of the Partnership were sold at a price equal to the greater
                           of the liquidation value or the value based on a sale of the entire business as a
                           going concern without the dissociated Partner and the Partnership was wound up
                           as of that date. Interest shall be paid from the date the amount owed becomes due
                           to the date of payment.
                        b. Damages for wrongful dissociation under Corporations Code §16602(b) and all
                           other amounts owing from the dissociated Partner to the Partnership, whether or
                           not presently due, shall be offset against the buyout price. Interest shall be paid
                           from the date the amount owed becomes due to the date of payment.
                        c. The Partnership shall indemnify, defend, and hold the dissociated Partner harmless
                           from any Partnership liabilities, whether incurred before or after the event of
                           dissociation, except liabilities incurred by an act of the dissociated Partner after
                           dissociation (a) when the other party reasonably believed that the dissociated
                           Partner was then a Partner, (b) the other party did not have notice of the Partner’s
                           dissociation, or (c) the other party is not deemed to have knowledge of the
                           Partner’s dissociation due to filing of a statement of Partnership authority or
                           statement of dissociation.
                                 i. If no agreement is reached for the purchase of the dissociated Partner’s
                                    interest within 120 days after the dissociated partner’s written demand for
                                    payment, the Partnership shall pay, or cause to be paid, in cash to the
                                    dissociated Partner the amount the Partnership estimates to be the buyout
                                    price and accrued interest, reduced by any offsets and accrued interest
                                    under this section.
                                 ii. Payment shall be accompanied by all of the following:
                                         1. A statement of Partnership assets and liabilities as of the date of
                                            dissociation.
                                         2. The latest available Partnership balance sheet and income
                                            statement, if any.
                                         3. An explanation of how the estimated amount of the payment was
                                            calculated.
                                         4. A written notice that the payment is in full satisfaction of the
                                            obligation to purchase unless, within 120 days after the written
                                            notice, the dissociated partner commences an action to determine
                                            the buyout price or to determine any offset, or to decide other terms
                                            of the obligations to purchase.




                                                             Page 8! of 15
                                                                        !                              Exhibit 1
                                                                                                        Page 15
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 18 of 162 Page ID #:577




                        d. Should any dissociation occur within 90 days before the dissolution of a
                           Partnership, then:
                                 i. All Partners who dissociate within 90 days before the dissolution shall be
                                    treated as Partners for purposes of ending up the Partnership’s business on
                                    a dissolution of the Partnership; and
                                 ii. Any damage for wrongful dissociation and all other amounts owed by the
                                     dissociated Partner to the Partnership, whether or not presently due, shall
                                     be taken into account in determining the amount distributable to the
                                     dissociated Partner on such dissolution and winding up.
                36. Nontransferability of Interest. A Partner’s interest in the Partnership shall not be
                    transferred, in whole or in part, except by unanimous written consent of the remaining
                    Partners, intestate succession, testamentary disposition, or through a decree or judgment
                    from a court of competent jurisdiction. Any other purported transfer of all or part of a
                    Partner’s interest shall be void and of no effect against the Partnership, any other Partner,
                    any creditor of the Partnership, or any claimant against the Partnership. No such transfer
                    shall constitute the transferee a Partner or entitle the transferee to any of the rights of a
                    Partner, other than the right to receive as much of the transferor’s share of Partnership
                    distributions as is transferred to the transferee.
                37. Events of Dissolution. The Partnership shall be dissolved, and its business shall be
                    wound up, only on the occurrence of any of the following events:
                        a. The earlier of: the completion of the Partnership Term as described in Paragraph 4
                           and/or the return of invested Capital as provided under Paragraph 5.
                        b. The express will of all of the Partners to wind up the Partnership business.
                        c. On expiration of 90 days after a Partner’s dissociation by death, bankruptcy,
                           incapacity, distribution by a trust or estate Partner of its entire interest, or
                           termination of any entity Partner, or by a Partner’s wrongful dissociation, unless
                           before that time a majority in interest of the Partners agree to continue the
                           Partnership.
                        d. Any event that makes it unlawful for all or substantially all of the Partnership
                           business to be continued if such event is not cured within 90 days after notice to
                           the Partnership of the event.
                        e. On application by a Partner, a judicial determination that any of the following
                           apply:
                                 i. The economic purpose of the Partnership is likely to be unreasonably
                                    frustrated.
                                 ii. Another Partner has engaged in conduct relating to the Partnership
                                     business that makes it not reasonably practicable to carry on the business
                                     in Partnership with that Partner.



                                                             Page 9! of 15
                                                                        !                             Exhibit 1
                                                                                                       Page 16
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 19 of 162 Page ID #:578




                                 iii. It is not otherwise reasonably practicable to carry on the Partnership
                                      business in conformity with the Partnership agreement.
                        f. As otherwise set forth in this Partnership Agreement.
                38. Termination After Dissolution; Waiver.
                        a. Except as provided in this Agreement, the Partnership continues after dissolution
                           only for the purpose of winding up its business. The Partnership is terminated
                           when the winding up of its business is completed.
                        b. At any time after the dissolution of the Partnership and before the winding up of
                           its business is completed, all of the Partners, including any dissociating Partner
                           (other than a wrongfully dissociating Partner) may waive the right to have the
                           Partnership’s business wound up and the Partnership terminated. On such event,
                           both of the following shall occur:
                                 i. The Partnership resumes carrying on its business as if dissolution had
                                    never occurred, and any liability incurred by the Partnership or a Partner
                                    after the dissolution and before the waiver is determined as if dissolution
                                    had never occurred; and
                                 ii. The rights of any third party accruing after commencement of dissolution
                                     or arising out of conduct in reliance on the dissolution before the third
                                     party knew or received a notification of the waiver may not be adversely
                                     affected.
                39. Persons Eligible to Wind Up Partnership.
                        a. After dissolution, a Partner who has not dissociated may participate in winding up
                           the Partnership’s business, subject to the right of a Partner or its legal
                           representative to petition the court, for good cause shown, for judicial supervision.
                        b. The legal representative of the last surviving Partner may wind up a Partner’s
                           business.
                        c. The person winding up the Partnership business shall have all of the powers given
                           by law to wind up the affairs of the Partnership.
                        d. On dissolution where the partnership has filed a Statement of Partnership
                           Authority, the Partnership shall cause to be filed a statement of dissolution under
                           California Corporations Code §16805.
                40. Distribution of Assets.
                        a. On the winding up of the Partnership’s business, the assets of the Partnership,
                           including any contributions by the Partners required in this Agreement, shall be
                           applied to discharge its obligations to creditors, including to the extent permitted
                           by law Partners who are creditors. Any surplus shall be applied to pay in cash the
                           net amount distributable to Partners in accordance with their rights to distributions
                           under this Agreement.


                                                             Page 10
                                                                  ! of 15
                                                                       !                               Exhibit 1
                                                                                                        Page 17
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 20 of 162 Page ID #:579




                        b. Each Partner shall be entitled to a settlement of all Partnership accounts on
                           winding up the Partnership business. In settling accounts among the Partners, the
                           profits and losses that result from liquidation of the Partnership assets shall be
                           credited and charged to the Partners’ accounts. The Partnership shall make a
                           distribution to a Partner in an amount equal to any excess of the credits over the
                           charges in the Partner’s account.
                41. Satisfaction of Obligations. No Partner shall be required or liable to make any
                    contribution beyond the Capital Contribution described in Attachment A.
                42. Non-circumvention and Non-solicitation.
                         a. All parties to this Agreement agree not to attempt to utilize confidential
                             information obtained through this Agreement or any prior agreement or
                             relationship for the purpose of circumventing it. Further, the parties agree to use
                             best efforts, good faith, and fair dealing during this Agreement’s term, and shall
                             not seek to exploit confidential information obtained from the other.
                         b. Without limiting the foregoing, each Partner agrees not to intentionally interfere in
                             any manner with the other Partners’ professional relationships, or with its clients,
                             customers, suppliers, vendors, distributors, agents, contractors, representatives,
                             members, or employees. Each Partner agrees to refrain from soliciting the
                             employment of or otherwise engage any person who is employed by the
                             Partnership as an employee, contractor or representative.
                         c. Each party acknowledges that the restrictions contained in this Section are
                             reasonable and necessary to protect the legitimate interests of the other and that
                             any violation may result in irreparable injury to the aggrieved party.
                         d. Each party agree that the other shall be entitled to preliminary and permanent
                             injunctive relief, without the necessity of proving actual damages, as well as an
                             equitable accounting of all earnings, profits and other benefits arising from any
                             violation of this Section, which rights shall be cumulative and in addition to any
                             other rights or remedies to which the aggrieved party may be entitled. In the event
                             that any of the provisions of this Section or any other part of this Agreement
                             should ever be adjudicated to exceed the time, geographic, product or service, or
                             other limitations permitted by applicable law in any jurisdiction, then such
                             provisions shall be deemed reformed in such jurisdiction to the maximum time,
                             geographic, product or service, or other limitations permitted by applicable law.
                             The terms of this Section are material provisions hereof and are material
                             inducements to the parties entering into this Agreement and engaging in the
                             relationship created hereby.
                43. Indemnification. Except as otherwise provided in this Agreement, a Partner shall not be
                    liable to, and the Partnership shall indemnify and hold the Partner harmless from, any and
                    all expense and liability resulting from or arising out of any negligence or misconduct on
                    the Partner’s part to the extent that the amount is not covered by the applicable insurance
                    carried by the Partnership; provided, however, that there shall be no indemnification if it




                                                             Page 11
                                                                  ! of !15                           Exhibit 1
                                                                                                      Page 18
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 21 of 162 Page ID #:580




                    is determined that the Partner’s conduct is grossly negligent or reckless or if the Partner
                    engages in any willful and material breach of any other obligations under this Agreement
                44. Amendments. This agreement may be amended in writing at any time by a unanimous
                    vote of the Partners.
                45. Notices. Any written notice to any of the Partners required or permitted under this
                    Agreement shall be deemed to have been duly given (a) on the date of service if served
                    personally, by electronic mail or facsimile, with confirmation of delivery, on the party to
                    whom notice is to be given, or (b) on the seventh day after mailing if mailed to the party
                    to whom notice is to be given, first class postage prepaid, return receipt requested, and
                    addressed to the addressee at the address stated opposite his or her name below or at the
                    most recent address specified by written notice given to the sender by the addressee under
                    this clause. Notices to the Partnership shall be similarly given, and addressed to it at its
                    principal place of business.
                46. Counterparts. The parties may execute this Agreement in two or more counterparts,
                    which shall, in the aggregate, be signed by all the parties and constitute one agreement.
                    Each counterpart shall be deemed an original instrument as against any party who has
                    signed it.
                47. Governing Law. This agreement is executed in and intended to be performed in the State
                    of California, and the laws of that state (other than as to choice of laws) shall govern its
                    interpretation and effect. Any action or proceeding arising out of, relating to or
                    concerning this Agreement, including, without limitation, any claim of breach of contract
                    or of one partner’s fiduciary duty to the other partner(s) or to the partnership, shall be
                    filed in the state courts of Napa County, California and in no other location. The parties
                    hereby agree to be subject to the jurisdiction of Napa County courts, and waive the right
                    to object to such location on the basis of venue.
                48. Successors. This agreement shall be binding on and inure to the benefit of the respective
                    successors, assigns, and personal representatives of the parties, except to the extent of any
                    contrary provision in this Agreement.
                49. Severability. If any term, provision, covenant, or condition of this Agreement is held by a
                    court of competent jurisdiction to be invalid, void, or unenforceable, the rest of the
                    agreement shall remain in full force and effect and shall in no way be affected, impaired,
                    or invalidated.
                50. Headings. Section, paragraph, and other headings contained in this Agreement are for
                    reference purposes only and are in no way intended to describe, interpret, define, amplify,
                    or limit the scope, extent, or intent of this Agreement or any provision of it.
                51. Further Action. Each Partner shall execute and deliver such papers, documents, and
                    instruments, and perform such acts as are necessary or appropriate, to implement the
                    terms of the agreement and the intent of the parties to this Agreement.




                                                             Page 12
                                                                  ! of 15
                                                                       !                             Exhibit 1
                                                                                                      Page 19
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 22 of 162 Page ID #:581




                52. Construction. In construing this Agreement, no consideration shall be given to the fact or
                    presumption that any party had a greater or lesser hand in drafting it.
                53. Gender. In construing this Agreement, pronouns of any gender shall be deemed to
                    include the other gender.
                54. Incorporation by Reference. Every exhibit, schedule, and other appendix attached to and
                    referred to in this Agreement is incorporated in this Agreement by reference.
                55. Attorney Fees. If any party requires the services of an attorney to secure the performance
                    of this Agreement or otherwise on the breach or default of another party to this
                    Agreement, or, if any judicial remedy or arbitration is necessary to enforce or interpret
                    any provision of this Agreement or the rights and duties of any person in relation to it, the
                    prevailing party shall be entitled to reasonable attorney fees, costs, and other expenses, in
                    addition to any other relief to which such party may be entitled. Any award of damages
                    following judicial remedy or arbitration as a result of the breach of this Agreement or any
                    of its provisions shall include an award of prejudgment interest from the date of the
                    breach at the maximum amount of interest allowed by law.
                56. Entire Agreement. This Agreement contains the entire agreement of the parties relating
                    to the rights granted and obligations assumed in this Agreement. Any oral representations
                    or modifications concerning this instrument shall be of no force or effect unless contained
                    in a subsequent written modification signed by the party to be charged.
                                                             – signatures below –




                                                             Page 13
                                                                  ! of 15
                                                                       !                             Exhibit 1
                                                                                                      Page 20
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 23 of 162 Page ID #:582




                IN WITNESS WHEREOF, the Partners have executed this Agreement effective as of the date
                set forth above.


                          5/28/2019
                Date:



                Pure Health
                             5/28/2019
                Date:


                Vausse Films




                                                             Page 14
                                                                  ! of 15
                                                                       !                   Exhibit 1
                                                                                            Page 21
DocuSign Envelope ID: F0064AE7-F8F3-4F06-AC1C-FE34E12213FB
        Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 24 of 162 Page ID #:583




                                     ATTACHMENT A OF PARTNERSHIP AGREEMENT
                                    OF WATCH LIST, RUN WITH THE HUNTED, ARCTIC

                    1. The Partners principal capital contributions to the Partnership are as follows:

                               Partner                       Contribution Amount        Total Return in U.S
                                                                                              Dollars
                         PURE HEALTH                             $222,275.00               $500,379.00
                         VAUSSE FILMS                           $2,000,475.00              $2,502,394.00
                              TOTAL                             $2,222,750.00              $3,002,773.00

                    2. The Partners shall participate in the business of the Partnership as follows:

                                     PARTNER                                          TITLE
                                  PURE HEALTH                                        Producer
                                  VAUSSE FILMS                                        Silent

                    3. The Partners shall receive the following percentage return on their principal
                       contributions:

                            PARTNER                  PERCENTAGE OF                 RATE OF RETURN ON
                                                     CONTRIBUTED CAPITAL           CONTRIBUTION AFTER
                                                                                   RETURN OF PRINCIPAL
                         PURE HEALTH                               10%                         35.09% *
                         VAUSSE FILMS                              90%                35.09% (25.09% net) *

                             * Pure Health as Producer, will receive 10% of Silent Partner’s return of principal.

                             * VAUSSE FILMS MOVIE BREAKDOWN

                             * WATCH LIST $664,425 ROI 24.97% = $830,332

                             * RUN WITH THE HUNTED $670,050 ROI 24.86% = $836,624

                             * ARCTIC $666,000 ROI 25.44% = $835,438




                                                             Page 15
                                                                  ! of 15
                                                                       !                               Exhibit 1
                                                                                                        Page 22
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 25 of 162 Page ID #:584




                    EXHIBIT 2
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 26 of 162 Page ID #:585




                                                                     Exhibit 2
                                                                      Page 23
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 27 of 162 Page ID #:586




                                                                     Exhibit 2
                                                                      Page 24
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 28 of 162 Page ID #:587




                                                                     Exhibit 2
                                                                      Page 25
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 29 of 162 Page ID #:588




                                                                     Exhibit 2
                                                                      Page 26
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 30 of 162 Page ID #:589




                                                                     Exhibit 2
                                                                      Page 27
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 31 of 162 Page ID #:590




                                                                     Exhibit 2
                                                                      Page 28
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 32 of 162 Page ID #:591




                                                                     Exhibit 2
                                                                      Page 29
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 33 of 162 Page ID #:592




                                                                     Exhibit 2
                                                                      Page 30
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 34 of 162 Page ID #:593




                                                                     Exhibit 2
                                                                      Page 31
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 35 of 162 Page ID #:594




                                                                     Exhibit 2
                                                                      Page 32
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 36 of 162 Page ID #:595




                                                                     Exhibit 2
                                                                      Page 33
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 37 of 162 Page ID #:596




                                                                     Exhibit 2
                                                                      Page 34
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 38 of 162 Page ID #:597




                                                                     Exhibit 2
                                                                      Page 35
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 39 of 162 Page ID #:598




                                                                     Exhibit 2
                                                                      Page 36
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 40 of 162 Page ID #:599




                    EXHIBIT 3
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 41 of 162 Page ID #:600




      PROMISSORY NOTE

      $ (1,004,084.00)                                                        (05/29/2019)

     Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
     California, (the ''Maker''), hereby promises to pay to Lender, Pure Health Enterprises Inc.,
     an corporation with addresses at (2070A West Lincoln Ave. Napa, CA 94558), (the
     ''Payee''), an amount equal to (ONE MILLION FOUR THOUSAND EIGHTY-FOUR)
     Dollars ($1,004,084.00) in lawful money of the United States of America, which sum shall
     be due and payable on (11/29/2019) (the ''Maturity Date''), in one (1) balloon payment, in
     like money at said office. Payment date shall be no later than six (6) months post confirmed
     funds transfer from Payee to Maker in the amount of (SEVEN HUNDRED FORTY-FOUR
     THOUSAND FIVE HUNDRED) Dollars ($744,500.00).

     Prepayment Option. Maker may pay down at any time any portion of the principal sum
     outstanding without any prepayment penalty.

     Assignment of Rights. See Appendix A

      Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
      and that in the event payment of principal or interest due under this Note is not made
      when due, giving effect to any grace period which maybe applicable, the outstanding
      balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
      percent per month, for so long as such event of default continues.

      Validity of Agreement to Conform to Law. All agreements between the undersigned and
      the holder of this Note are expressly limited so that in no contingency or event
      whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
      maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
      be paid to the holder hereof for the use, forbearance or detention of money advanced
      hereunder exceed the highest lawful rate permissible under any law which a court of
      competent jurisdiction may deem applicable hereto. If, from any circumstances
      whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
      any other agreement referred to herein, at the time performance of such provision shall be
      due, shall involve transcending the limit of validity prescribed by law which a court of
      competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
      fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
      holder hereof shall ever receive as interest an amount which would exceed the highest
      lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                          Exhibit 3
                                                                                           Page 37
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 42 of 162 Page ID #:601




     reduction of the unpaid principal balance due hereunder and not to the payment of
     interest. This provision shall control every other provision of all agreements between the
     undersigned and the holder hereof.

      Maker’s Default. At the option of the holder hereof exercised by written notice to the
      undersigned, this Note shall become immediately due and payable upon the maker's
      failure to pay when due any payment of principal, interest or expenses due hereunder; or
      (b) failure in the performance or observance of any of the terms or conditions of any
      mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
      otherwise pertaining to this Note after giving effect to any applicable curative period
      which may be contained therein. Upon the occurrence of any of the following specified
      Events of Default, as defined under the standard conventions and terminology prescribed
      for promissory notes drafted under Warren’s California Forms for Principal, Interest,
      Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
      called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
      any Event of Default shall then be continuing, the Payee may, by written notice to the
      Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
      due and payable, whereupon the principal of and such unpaid accrued interest in respect
      of this Note shall become forthwith due and payable without presentment, demand,
      protest or other notice of any kind, all of which are hereby expressly waived by the
      Maker. Furthermore, This note shall become due and payable before the above-
      mentioned maturity date immediately upon the happening of any of the following events
      affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
      petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
      creditors, calling meeting of creditors, appointment of liquidating agent or committee,
      offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
      or for over 30 days, application for appointment or appointment of any receiver, issuance
      of warrant of attachment or death of any maker or indorser or on default of any other
      obligations to the Maker.

      Collection Costs. If this Note or any installment of principal or interest is not paid when
      due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
      collection, including without limitation, actual attorneys' fees, and all expenses in
      connection with the protection or realization of the assets and proceeds available this
      Note or the enforcement of any subsequent memorandum or agreement created in
      conjunction with this Note incurred by the holder hereof on account of such collection,
      whether or not suit is filed hereon or thereon; such costs and expenses shall include,
      without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
      hereof in connection with any insolvency, bankruptcy, arrangement or other similar
      proceedings involving the undersigned, or involving any endorser or guarantor hereof,
      which in anyway affects the exercise by the holder hereof of its rights and remedies under
      this Note or under any mortgage, deed of trust, security agreement, guaranty or other
      agreement securing or pertaining to this Note.

      Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
      nonpayment of this Note and all notices of every kind are hereby waived by all parties to



                                                                                          Exhibit 3
                                                                                           Page 38
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 43 of 162 Page ID #:602




     this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
     provided herein. To the extent permitted by applicable law, the defense of the statute of
     limitations is hereby waived by the undersigned.

     Death of Maker. Maker of this note hereby waives all notice and demand and consent that
     this note shall become due and payable immediately upon the happening of any of said
     events. This note shall become due and payable on the Maturity Date, but payment shall
     be accelerated and become due and payable immediately if the Maker shall die. For the
     further security of the holder thereof, the undersigned covenants that so long as any part
     of the principal or interest of this note is outstanding and unpaid, it will not grant any
     security interest to any third party upon its property, or create any lien whatsoever
     thereon, without also thereby including therein this note, equally and ratably with every
     other evidence of debt, secured by any of the undersigned's property. If, while any part of
     the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
     then the holder hereof may at his or its election, declare and make this note at once due
     and payable by written notice delivered to maker, and this remedy will be deemed
     cumulative and in addition to any other remedy available to the holder hereof. This note
     shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
     cause whatsoever.

     Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
     case of non-payment thereof at maturity, or of any installment thereof when due, may
     grant to the maker or any indorser of said note any extension or extensions of time of
     payment thereof, in whole or in part, without notice to said indorsers or any of them and
     any such extension or extensions shall not affect in any way said indorsers' liability upon
     note, such indorsers hereby waiving demand, presentment of payment, notice of
     nonpayment and protest and do further agree that any holder of this note may in the event
     of default in the payment of principal of, or interest upon, this note or any installment
     thereof repossess and/or sell the (collateral) held as collateral security for the payment of
     this note without in any way relieving said indorsers, or any of them, of any liability by
     reason of such repossession and/or sale, applying the proceeds of sale of any such asset
     less all costs to amount due under this note, and all indorsers agree to pay any deficiency
     on this note on demand.

     Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
     rights under this Note, the unsuccessful party or parties to such litigation, as determined
     by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
     or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
     party or parties (including, without limitation, such costs, expenses and fees on any
     appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
     judgment or decree.

     General Provisions. Principal and interest evidenced hereby are payable only in lawful
     money of the United States. The receipt of a check shall not, in itself, constitute payment
     hereunder unless and until paid in good funds. Whenever any payment on this Note shall
     be stated to be due on a day, which is not a business day, such payment shall be made on



                                                                                           Exhibit 3
                                                                                            Page 39
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 44 of 162 Page ID #:603




     the next succeeding business day and such extension of time shall be included in the
     computation of the payment of interest of this Note. This Note is to be governed by and
     construed in accordance with the laws of the State of California except to the extent
     United States federal law permits the holder to contract for, charge or receive a greater
     amount of interest. In any action brought under or arising out of this Note, the
     undersigned hereby consents to the in personam jurisdiction of any state or federal court
     sitting in the state of California, and waives any claim or defense that such forum is not
     convenient or proper, and consents to service of process by any means authorized by
     California and/or Federal law.


     THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
     UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
     OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
     RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
     ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
     HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE WHETHER
     NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN CONTRACT OR IN
     TORT OR OTHERWISE.



                                                             5/29/19

     1INMM Capital, LLC                                    Date
     Zachary Horwitz, Manager




                                                                                         Exhibit 3
                                                                                          Page 40
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 45 of 162 Page ID #:604



                                               APPENDIX A


                                              ASSIGNMENT

     This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at 5550 Wilshire Blvd
     #523 Los Angeles, CA 90036 (“Assignor”) and Pure Health Enterprises Inc., a Corporation
     located at 2070A West Lincoln Ave. Napa, CA 94558 (“Assignee”) is dated effective as of
     (05/29/2019).

     For good and valuable consideration, the receipt and sufficiency of which hereby
     acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey, and
     assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
     throughout the universe, until assignee is paid ($1,004,084.00) at to which time all rights, title
     and interest of every kind and nature revert back to Assignor and to that certain motion
     picture, currently entitled “RUN WITH THE HUNTED” (the “Picture”) based on the original
     screenplay entitled “RUN WITH THE HUNTED” written by John Swab.

     1. Assignor hereby represents and warrants:

             1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                     granted or to be granted to Assignee hereunder.
             1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                     Assignment.
             1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has
                     in any way been encumbered, conveyed, assigned, transferred or otherwise
                     disposed of and all such rights are therefore free and clear of any and all liens,
                     claims, charges or encumbrances whatsoever in favor of any party
                     whatsoever.

     2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
        them harmless from and against any and all claims, liability, losses, damages, costs,
        expenses (including but not limited to attorney’s fees) arising out of any breach by
        Assignor of any warranty made by Assignor hereunder.

     3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
        which accrue after the date hereof.

     4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
        any similar law in any country of the world and agrees not to institute or permit any
        action or lawsuit on the ground that the Picture in any way constitutes an infringement of
        any “droit morale” and Assignor agrees that Assignor shall not, under any circumstances
        (including without limitation, the circumstances of a breach by Assignee) be entitled to
        enjoin the exhibition or other exploitation of the Picture, to terminate or rescind any
        rights granted to Assignee or to obtain any other form of equitable relief, specific
        performance or otherwise, any right to which Assignor expressly waives.

     5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
        any person, firm or corporation. Assignee may assign this Assignment and the rights and
        services granted herein, together with the results and proceeds thereof, and the
        representations and warranties contained herein, to any person or entity.

                                                                                              Exhibit 3
                                                                                               Page 41
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 46 of 162 Page ID #:605




     6. This Assignment shall be construed in accordance with the laws of the state of California
        and shall be binding upon and shall inure to the benefit of the parties hereto and their
        respective successors, licensees and assigns. This Assignment cannot be amended or
        modified except in a writing signed by all parties hereto.

     IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
     ASSIGNMENT AS OF THE (29)th DAY OF MAY 2019.



     1INMM CAPITAL, LLC (“Assignor”)                              PURE HEALTH INC (“Assignee”)



     By: __________________________________                       By: _________________________________

     Its: MANAGING PARTNER                                        Its: ________________________________




                                                                                             Exhibit 3
                                                                                              Page 42
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 47 of 162 Page ID #:606




                    EXHIBIT 4
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 48 of 162 Page ID #:607




                                                                     Exhibit 4
                                                                      Page 43
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 49 of 162 Page ID #:608




                                                                     Exhibit 4
                                                                      Page 44
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 50 of 162 Page ID #:609




                                                                     Exhibit 4
                                                                      Page 45
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 51 of 162 Page ID #:610




                                                                     Exhibit 4
                                                                      Page 46
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 52 of 162 Page ID #:611




                                                                     Exhibit 4
                                                                      Page 47
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 53 of 162 Page ID #:612




                    EXHIBIT 5
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 54 of 162 Page ID #:613




                                                                     Exhibit 5
                                                                      Page 48
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 55 of 162 Page ID #:614




                                                                     Exhibit 5
                                                                      Page 49
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 56 of 162 Page ID #:615




                                                                     Exhibit 5
                                                                      Page 50
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 57 of 162 Page ID #:616




                                                                     Exhibit 5
                                                                      Page 51
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 58 of 162 Page ID #:617




                                                                     Exhibit 5
                                                                      Page 52
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 59 of 162 Page ID #:618




                                                                     Exhibit 5
                                                                      Page 53
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 60 of 162 Page ID #:619




                                                                     Exhibit 5
                                                                      Page 54
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 61 of 162 Page ID #:620




                                                                     Exhibit 5
                                                                      Page 55
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 62 of 162 Page ID #:621




                                                                     Exhibit 5
                                                                      Page 56
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 63 of 162 Page ID #:622




                                                                     Exhibit 5
                                                                      Page 57
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 64 of 162 Page ID #:623




                                                                     Exhibit 5
                                                                      Page 58
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 65 of 162 Page ID #:624




                                                                     Exhibit 5
                                                                      Page 59
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 66 of 162 Page ID #:625




                                                                     Exhibit 5
                                                                      Page 60
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 67 of 162 Page ID #:626




                                                                     Exhibit 5
                                                                      Page 61
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 68 of 162 Page ID #:627




                                                                     Exhibit 5
                                                                      Page 62
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 69 of 162 Page ID #:628




                                                                     Exhibit 5
                                                                      Page 63
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 70 of 162 Page ID #:629




                    EXHIBIT 6
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 71 of 162 Page ID #:630




                                                                                    Exhibit 6
                                                                                     Page 64
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 72 of 162 Page ID #:631




                    EXHIBIT 7
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 73 of 162 Page ID #:632




                                                                                    Exhibit 7
                                                                                     Page 65
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 74 of 162 Page ID #:633




                    EXHIBIT 8
 Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 75 of 162 Page ID #:634


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                                                     PRODU                                                                  SUBTITLE           ONLY
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              FILM TITLE            TERRITORY        CTION                              GENRE                                OPTION           SUBTITL   LICENSED      ADVANCE
                                                 D          ME       N                                 MATERIALS  OPTION                  GE
                                                      YEAR                                                                    (Y/N)              ES
                                                                                                                   (Y/N)               OPTION
                                                                                                                                              OPTION
                                                                                                                                        (Y/N)
                                                                                                                                               (Y/N)
#SCREAMERS                          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/15/2019     $1,005,658
3 From Hell                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/14/2019     $1,000,586
68 Kill                             ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/17/2019      $987,398
7 Days in Entebbe                   ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/17/2019      $997,978
7 Days to Vegas                     ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/3/2019     $1,005,496
A Perfect Plan                      ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        7/14/2019     $1,001,491
A.I. Rising                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/26/2019     $1,004,659
Abduction                           ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/6/2019     $1,009,178
Acceleration                        ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        7/29/2019     $1,000,558
All The Devil's Men                 ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         9/2/2019     $1,003,639
Allagash                            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       11/19/2019     $1,001,392
American Fighter                    ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/6/2019     $1,008,258
American Frightfest                 ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/6/2019     $1,007,628
Among the Shadows                   ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         8/3/2019     $1,004,638
An Acceptable Loss                  ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y                      $1,005,893
Anniversary Nightmare               ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/13/2019     $1,008,352
Apparition                          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/16/2019     $1,004,335
April's Daughter                    ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/17/2019      $999,405
Arctic                              ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/12/2019     $1,002,288
Armed                               ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/26/2019     $1,004,764
Assimilate                          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/24/2019     $1,003,820
Awoken                              ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         8/2/2019     $1,000,583
Banksy and the Rise of Outlaw Art   ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/6/2019     $1,009,066
Becoming                            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        5/27/2019      $985,715
Behind the Walls                    ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/23/2019      $999,619
Bel Canto                           ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/26/2019      $998,747
Bitter Harvest                      ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/10/2019      $999,845
Blood Quantum                       ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        7/30/2019      $998,865
Blue Iguana                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/26/2019      $998,186
Body Brokers                        ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y                      $1,007,417
Bottom of the 9th                   ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/14/2019      $994,021
Brahms: The Boy 2                   ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        7/20/2019     $1,003,639
Buckout Road                        ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/16/2019      $998,135
Christmas Camp                      ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       11/13/2019      $995,011
City of Rock                        ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/28/2019      $995,519
Clara                               ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         7/6/2019      $998,575
Colette                             ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/1/2019     $1,005,293
Come To Daddy                       ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/29/2019     $1,001,469
Coyote Lake                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         8/9/2019      $998,704
Creating Champions                  ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/13/2019      $997,395
Cruel Peter                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        10/4/2019      $995,433
Dark Was The Night                  ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/1/2019     $1,006,417
Dauntless                           ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/13/2019     $1,000,077
Dead Trigger                        ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/16/2019     $1,003,258
Depraved                            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/29/2019     $1,013,207
Desolation                          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/23/2019     $1,004,304
Detective K                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/1/2019      $999,265
Dirt                                ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/4/2019     $1,008,110
Disturbing the Peace                ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y                      $1,002,578
Don't Come Back From the Moon       ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/29/2019      $993,694
Don't Open Your Eyes                ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         7/7/2019     $1,001,064
Doorman                             ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/21/2019     $1,003,117
Driver                              ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        5/20/2019     $1,001,119
Drone                               ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/4/2019     $1,009,291
El Fotographo                       ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/2/2019      $999,983
El Silencio De La Ciudad Blanca     ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        10/8/2019     $1,006,697
Endings, Beginnings                 ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       11/11/2019     $1,003,964
Extracurricular                     ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        5/27/2019      $978,256
Fear Bay                            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       11/13/2019     $1,002,582
Feedback                            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/14/2019      $998,109
First Reformed                      ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/30/2019      $997,810
Fourplay                            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/13/2019     $1,006,638
Funhouse                            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/13/2019      $997,836
General Commander                   ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       11/14/2019      $999,843
Girls Versus Gangsters              ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/4/2019      $997,160
Goalie                              ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y                      $1,005,320
Grand Isle                          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        7/29/2019     $1,005,417
Greener Grass                       ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/28/2019     $1,003,376
Gun City                            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        10/8/2019     $1,006,137
Hard Night Falling                  ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        7/29/2019     $1,005,377
Heidi: Queen of the Mountain        ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y                      $1,003,874
High Strung Free Dance              ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/23/2019     $1,001,942
House of The Disappeared            ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/19/2019     $1,009,775
How to Talk to Girls at Parties     ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/16/2019     $1,005,293
How to Train Your Husband           ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/17/2019      $998,060
I Met a Girl                        ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y                      $1,001,850
Iceman                              ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/3/2019      $997,615
Indivisible                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/17/2019     $1,002,684
Iron Sky: The Coming Race           ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/14/2019     $1,000,618
Journey's End                       ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         9/7/2019     $1,001,413
Judy                                ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/8/2019      $996,498
Judy Small                          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/3/2019     $1,007,140
Juliet, Naked                       ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/7/2019     $1,001,260
Jungle                              ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         9/7/2019     $1,004,983
K.O.                                ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/16/2019     $1,005,316
Kill Chain                          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/16/2019     $1,008,696
Killer Man                          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         8/7/2019     $1,006,144
Killing Gunther                     ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/30/2019     $1,001,219
Kindred Spirits                     ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y       10/17/2019     $1,005,360
La Melode                           ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/22/2019      $997,840
Lady Driver                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        12/6/2019     $1,004,467
Leatherface                         ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/30/2019     $1,003,934
Legend of Ancient Sword             ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        9/12/2019     $1,006,938
Line of Descent                     ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y         8/9/2019      $997,221
Look Away                           ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        8/27/2019     $1,007,261
Looks That Kill                     ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        6/21/2019      $992,368
Loro                                ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        11/8/2019     $1,001,847
Lost Girls and Love Hotels          ALL LATAM   HD    N/A    N/A   N/A        Thriller or the like   N/A            Y          Y         Y       Y        7/28/2019     $1,007,198


                                                                                                                                                           Exhibit 8
                                                                                                                                                            Page 66
 Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 76 of 162 Page ID #:635


Lost Transmissions            ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/7/2019   $1,004,467
Lucky Day                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   12/30/2019   $1,006,314
Maine                         ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   11/11/2019   $1,001,985
Malevolent                    ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    11/7/2019   $1,001,962
Malicious                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    11/7/2019   $1,006,277
Marfa                         ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/28/2019   $1,001,942
Mary                          ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   12/30/2019   $1,006,252
Mary Shelly                   ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    9/20/2019   $1,000,874
Matriarch                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    8/23/2019   $1,005,142
Measure of Man                ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    11/1/2019   $1,004,871
Monsters of Man               ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/3/2019   $1,001,006
Next Level                    ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   10/17/2019   $1,005,182
Nosferatu                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/23/2019   $1,000,728
Now is Everything             ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/3/2019   $1,001,800
Nuclear                       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   12/30/2019   $1,005,294
Obsession                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   12/12/2019   $1,008,416
Olympic Dreams                ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/6/2019   $1,003,416
Once Upon A Time in Venice    ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    9/16/2019   $1,000,921
Only                          ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/29/2019   $1,009,261
Operation Red Sea             ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    10/8/2019   $1,011,083
Ophelia                       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    8/27/2019   $1,003,153
Our House                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y     7/4/2019   $1,008,994
Outback                       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/4/2019   $1,007,659
Pegasus                       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    10/4/2019    $999,110
Pharoah's War                 ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/29/2019    $989,983
Prey                          ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/6/2019   $1,006,416
Pyewacket                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y     7/4/2019   $1,002,619
Question of Faith             ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   10/24/2019    $994,158
Real                          ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    10/2/2019   $1,001,580
Reborn                        ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    9/16/2019   $1,004,559
Roads                         ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    10/4/2019    $999,159
Run with the Hunted           ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    6/20/2019   $1,004,084
Satanic Panic                 ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y                $1,002,654
Slasher Party                 ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    6/10/2019    $993,617
Sleeping in Plastic           ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/8/2019   $1,004,542
Smart Chase                   ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y     8/1/2019    $999,405
Spacewalk                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    10/2/2019   $1,009,619
Strain 100                    ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/28/2019   $1,005,837
Strange But True              ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   11/13/2019    $992,952
Stratton                      ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y     9/7/2019   $1,002,916
Stray Dolls                   ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/3/2019   $1,003,180
Sweet Inspirations            ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   10/24/2019    $999,647
Telsa                         ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    8/16/2019   $1,009,459
The Assistant                 ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/6/2019   $1,008,258
The Bar                       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   11/10/2019   $1,000,376
The Butcher                   ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   12/10/2019   $1,005,751
The Dare                      ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y     8/5/2019   $1,000,810
The Diggers                   ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/20/2019    $993,980
The Encounter                 ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    12/7/2019   $1,006,294
The Etruscan Smile            ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/10/2019    $994,980
The Great Alaskan Race        ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/10/2019    $997,391
The Insult                    ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   11/10/2019    $998,493
The Man With the Iron Heart   ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    9/19/2019   $1,006,638
The Opening Act               ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    8/13/2019   $1,003,934
The Pale Door                 ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y                $1,006,596
The Shed                      ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/29/2019    $996,424
The Skin of the Wolf          ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   11/10/2019    $998,137
The Sound of Philadelphia     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/15/2019   $1,014,864
The Super                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    8/11/2019    $998,983
The Titan                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    9/12/2019   $1,002,330
The Warning                   ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    10/8/2019   $1,006,590
The Witness                   ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   11/12/2019    $999,620
The Yellow Birds              ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y     8/1/2019    $999,916
Time Freak                    ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    10/8/2019    $999,907
Trauma Center                 ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y     8/8/2019   $1,000,583
Trouble                       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    10/4/2019   $1,003,192
VFW                           ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y                 $996,071
Villain                       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y                $1,002,590
Walkaway Joe                  ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   10/21/2019    $999,698
Wasp Network                  ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    8/12/2019   $1,006,638
Watch List                    ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    6/20/2019    $996,401
Wild Rose                     ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y     9/5/2019   $1,008,937
William                       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y   11/11/2019   $1,000,584
You Might be the Killer       ALL LATAM   HD   N/A   N/A   N/A   Thriller or the like   N/A   Y   Y   Y   Y    7/10/2019    $999,175




                                                                                                                Exhibit 8
                                                                                                                 Page 67
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 77 of 162 Page ID #:636




                    EXHIBIT 9
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 78 of 162 Page ID #:637




                                                                                    Exhibit 9
                                                                                     Page 68
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 79 of 162 Page ID #:638




                  EXHIBIT 10
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 80 of 162 Page ID #:639




                                                                                    Exhibit 10
                                                                                      Page 69
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 81 of 162 Page ID #:640




                  EXHIBIT 11
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 82 of 162 Page ID #:641




                                                                                    Exhibit 11
                                                                                      Page 70
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 83 of 162 Page ID #:642




                  EXHIBIT 12
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 84 of 162 Page ID #:643




                                                                                    Exhibit 12
                                                                                      Page 71
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 85 of 162 Page ID #:644




                  EXHIBIT 13
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 86 of 162 Page ID #:645




                                                                                    Exhibit 13
                                                                                      Page 72
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 87 of 162 Page ID #:646




                  EXHIBIT 14
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 88 of 162 Page ID #:647




                                                                    Exhibit 14
                                                                      Page 73
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 89 of 162 Page ID #:648




                                                                    Exhibit 14
                                                                      Page 74
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 90 of 162 Page ID #:649




                                                                    Exhibit 14
                                                                      Page 75
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 91 of 162 Page ID #:650




                                                                    Exhibit 14
                                                                      Page 76
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 92 of 162 Page ID #:651




                                                                    Exhibit 14
                                                                      Page 77
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 93 of 162 Page ID #:652




                                                                    Exhibit 14
                                                                      Page 78
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 94 of 162 Page ID #:653




                                                                    Exhibit 14
                                                                      Page 79
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 95 of 162 Page ID #:654




                                                                    Exhibit 14
                                                                      Page 80
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 96 of 162 Page ID #:655




                                                                    Exhibit 14
                                                                      Page 81
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 97 of 162 Page ID #:656




                                                                    Exhibit 14
                                                                      Page 82
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 98 of 162 Page ID #:657




                                                                    Exhibit 14
                                                                      Page 83
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 99 of 162 Page ID #:658




                                                                    Exhibit 14
                                                                      Page 84
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 100 of 162 Page ID #:659




                                                                    Exhibit 14
                                                                      Page 85
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 101 of 162 Page ID #:660




                                                                    Exhibit 14
                                                                      Page 86
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 102 of 162 Page ID #:661




                                                                    Exhibit 14
                                                                      Page 87
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 103 of 162 Page ID #:662




                                                                    Exhibit 14
                                                                      Page 88
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 104 of 162 Page ID #:663




                                                                    Exhibit 14
                                                                      Page 89
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 105 of 162 Page ID #:664




                                                                    Exhibit 14
                                                                      Page 90
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 106 of 162 Page ID #:665




                                                                    Exhibit 14
                                                                      Page 91
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 107 of 162 Page ID #:666




                                                                    Exhibit 14
                                                                      Page 92
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 108 of 162 Page ID #:667




                                                                    Exhibit 14
                                                                      Page 93
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 109 of 162 Page ID #:668




                                                                    Exhibit 14
                                                                      Page 94
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 110 of 162 Page ID #:669




                                                                    Exhibit 14
                                                                      Page 95
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 111 of 162 Page ID #:670




                                                                    Exhibit 14
                                                                      Page 96
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 112 of 162 Page ID #:671




                                                                    Exhibit 14
                                                                      Page 97
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 113 of 162 Page ID #:672




                                                                    Exhibit 14
                                                                      Page 98
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 114 of 162 Page ID #:673




                                                                    Exhibit 14
                                                                      Page 99
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 115 of 162 Page ID #:674




                                                                    Exhibit 14
                                                                     Page 100
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 116 of 162 Page ID #:675




                                                                    Exhibit 14
                                                                     Page 101
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 117 of 162 Page ID #:676




                                                                    Exhibit 14
                                                                     Page 102
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 118 of 162 Page ID #:677




                                                                    Exhibit 14
                                                                     Page 103
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 119 of 162 Page ID #:678




                                                                    Exhibit 14
                                                                     Page 104
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 120 of 162 Page ID #:679




                                                                    Exhibit 14
                                                                     Page 105
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 121 of 162 Page ID #:680




                                                                    Exhibit 14
                                                                     Page 106
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 122 of 162 Page ID #:681




                                                                    Exhibit 14
                                                                     Page 107
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 123 of 162 Page ID #:682




                                                                    Exhibit 14
                                                                     Page 108
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 124 of 162 Page ID #:683




                                                                    Exhibit 14
                                                                     Page 109
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 125 of 162 Page ID #:684




                                                                    Exhibit 14
                                                                     Page 110
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 126 of 162 Page ID #:685




                                                                    Exhibit 14
                                                                     Page 111
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 127 of 162 Page ID #:686




                                                                    Exhibit 14
                                                                     Page 112
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 128 of 162 Page ID #:687




                                                                    Exhibit 14
                                                                     Page 113
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 129 of 162 Page ID #:688




                                                                    Exhibit 14
                                                                     Page 114
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 130 of 162 Page ID #:689




                                                                    Exhibit 14
                                                                     Page 115
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 131 of 162 Page ID #:690




                                                                    Exhibit 14
                                                                     Page 116
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 132 of 162 Page ID #:691




                                                                    Exhibit 14
                                                                     Page 117
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 133 of 162 Page ID #:692




                                                                    Exhibit 14
                                                                     Page 118
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 134 of 162 Page ID #:693




                                                                    Exhibit 14
                                                                     Page 119
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 135 of 162 Page ID #:694




                                                                    Exhibit 14
                                                                     Page 120
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 136 of 162 Page ID #:695




                                                                    Exhibit 14
                                                                     Page 121
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 137 of 162 Page ID #:696




                                                                    Exhibit 14
                                                                     Page 122
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 138 of 162 Page ID #:697




                                                                    Exhibit 14
                                                                     Page 123
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 139 of 162 Page ID #:698




                                                                    Exhibit 14
                                                                     Page 124
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 140 of 162 Page ID #:699




                                                                    Exhibit 14
                                                                     Page 125
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 141 of 162 Page ID #:700




                                                                    Exhibit 14
                                                                     Page 126
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 142 of 162 Page ID #:701




                                                                    Exhibit 14
                                                                     Page 127
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 143 of 162 Page ID #:702




                                                                    Exhibit 14
                                                                     Page 128
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 144 of 162 Page ID #:703




                                                                    Exhibit 14
                                                                     Page 129
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 145 of 162 Page ID #:704




                                                                    Exhibit 14
                                                                     Page 130
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 146 of 162 Page ID #:705




                                                                    Exhibit 14
                                                                     Page 131
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 147 of 162 Page ID #:706




                                                                    Exhibit 14
                                                                     Page 132
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 148 of 162 Page ID #:707




                                                                    Exhibit 14
                                                                     Page 133
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 149 of 162 Page ID #:708




                                                                    Exhibit 14
                                                                     Page 134
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 150 of 162 Page ID #:709




                                                                    Exhibit 14
                                                                     Page 135
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 151 of 162 Page ID #:710




                                                                    Exhibit 14
                                                                     Page 136
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 152 of 162 Page ID #:711




                  EXHIBIT 15
se 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 153 of 162 Page ID #:7




                                                       Exhibit 15
                                                        Page 137
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 154 of 162 Page ID #:713




                  EXHIBIT 16
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 155 of 162 Page ID #:714




                                                                  Exhibit 16
                                                                   Page 138
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 156 of 162 Page ID #:715




                  EXHIBIT 17
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 157 of 162 Page ID #:716




                                                                                     Exhibit 17
                                                                                      Page 139
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 158 of 162 Page ID #:717




                  EXHIBIT 18
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 159 of 162 Page ID #:718




                                                                                     Exhibit 18
                                                                                      Page 140
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 160 of 162 Page ID #:719




                  EXHIBIT 19
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 161 of 162 Page ID #:720




      EL FOTOGRAFO DE MAUTHAUSEN



      (2018) – SPANISH – Drama / History



      Cast – Mario Casas / Macarena Gomez / Alain Hernandez



      Director – Mar Targarona



      Writer – Roger Danes

      Logline: Based on real events, Francesc Boix is a Spaniard inmate in the Nazi concentration camp of Mauthausen in Austria who
      tries to save the evidences of the horrors committed inside its walls.


      Price: $739,500.00 --- HBO 6 MONTHS --- $999,983.00

      Funding Date: 10/17/19



      THE SKIN OF THE WOLF



      (2018) – SPANISH – Drama



      Cast – Mario Casas / Ruth Diaz / Irene Escolar



      Director – Samu Fuentes



      Writer – Samu Fuentes

      Logline: A highlander that lives alone in the mountains buys a wife to relieve his loneliness.

      Price: $739,200.00 --- HBO 6 MONTHS --- $998,137.00

      Funding Date: 10/17/19



      THE BAR



      (2018) – SPANISH – Horror / Thriller



      Cast – Blanca Suarez / Mario Casas / Carmen Machi




                                                                                                                                      Exhibit 19
                                                                                                                                       Page 141
Case 2:21-cv-02927-CAS-GJS Document 8 Filed 04/05/21 Page 162 of 162 Page ID #:721




      Director – Alex de la Iglesia



      Writer – Jorge Guerricaechevarria

      Logline: In bustling downtown Madrid, a loud gunshot and two mysterious deaths trap a motley assortment of common urbanites in a
      decrepit central bar, while paranoia and suspicion force the terrified regulars to turn on each other.

      Price: $739,800.00 --- HBO 6 MONTHS --- $1,000,376.00

      Funding Date: 10/17/19




                                                                                                                                    Exhibit 19
                                                                                                                                     Page 142
